     Case: 3:21-cr-50008 Document #: 20 Filed: 09/20/21 Page 1 of 1 PageID #:127

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Western Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 3:21−cr−50008
                                                           Honorable Iain D. Johnston
Scott Koteski
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 20, 2021:


       MINUTE entry before the Honorable Iain D. Johnston: The defendant's motion to
extend his surrender date [19] is granted. The defendant shall now surrender to the U.S.
Marshal for this district at 2:00PM on 9/27/2021. Mailed notice (jp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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